1    Mary Wallace
     P O Box 1632
2    Magalia, California 95954
     530 492 6585
3    Mkw1954ss@gmail.com

4                                        UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT
5                                            (SAN FRANCISCO DIVISION)
6

7    PG&E CORPORATION,                                          Case No.: 19-30088-DM
                                                                Chapter 11
8              AND                                              (Lead Case)
                                                                (Jointly Administered)
     PG&E GAS AND ELECTRIC COMPANY.
9
                                                                Re: Proof of Claim No. 68955
              DEBTOR,                                           Filed October 18, 2019
10
                                                                Camp Fire
                   VS.
11
                                                                Judge: Honorable Dennis Montali
     Mary Kim Wallace
12
                                                                DECLARATION OF MARY WALLACE
                         Creditor                               REGARDING MAILING OF PLAN DOCUMENTS
13
                                                                RECEIVED JUNE 3, 2020.
14

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16
     Pursuant to 28 U.S.C. § 1746, I Mary Wallace, hereby declare as follows under penalty of perjury:
17
     I am a fire victim claimant and creditor in this case.
18
              I received the following documents in my Post Office Box, June 3, 2020. It came in a USPS Priority Mail
19
     Medium Flat Rate Box. There was nothing in the box that was dated. It had a return address from “Prime Clerk,
20
     Grand Central Station, P. O. Box 4850, New York, New York, 10163-4850. It had a post mark that was from zip
21
     code 90015. The list below is in no particular order. All documents were filed on May 22, 2020.
22
              1.   Doc# 7514, NOTICE OF FILING OF DEBTORS’ AND SHAREHOLDERS PROPONENTS’ JOINT
23
                   CHAPTER 11 PLAN OF REORGANIZATION. (111 pages)
24
              2.   Doc# 7521, DEBTORS’ AND SHAREHOLDER PROPONENTS’ JOINT CHAPTER 11 PLAN OF
25
                   REORGANIZATION. (107 pages)
26

27

28
     PLEADING TITLE - 1



     Case: 19-30088           Doc# 7794         Filed: 06/05/20      Entered: 06/05/20 09:34:27           Page 1 of
                                                            3
1          3.   Doc# 7503, NOTICE OF FILING OF SUPPLEMENT TO PLAN SUPPLEMENT IN CONNECTION

2               WITH DEBTORS’ AND SHAREHOLDER PROPONETS’ JOINT CHAPTER 11 PLAN OF

3               REORGANIZATION. (49 pages).

4          4.   Doc# 7528, PLAN PROPONENTS’ JOINT MEMORANDUM OF LAW AND OMNIBUS

5               RESPONSE IN SUPPORT OF CONFIRMATION OF DEBTORS’ AND SHAREHOLDER

6               PROPONENTS’ JOINT CHAPTER 11 PLAN OF REORGANIZATION. (103 pages).

7          5.   Doc# 7556, DEBTORS’ AND SHAREHOLDER PROPONENTS’ JOINT CONFIRMATION

8               HEARING LIST. (8 pages of 89 to be heard).

9          6.   Doc# 7542, DEBTORS’ AND SHAREHOLDER PROPONENTS’ NOTICE OF DESIGNATION OF

10              SPEAKING ATTORNEYS AND WITNESSES AT CONFIRMATION HEARING. (3 pages).

11         7.   Doc# 7530, EX PARTE APPLICATION FOR ORDER PURSUANT TO L.B.R. 9013-1(c)

12              AUTHORIZING OVERSIZE BRIEFING FOR PLAN PROPONENTS/ JOINT MEMORANDUM OF

13              LAWE AND OMNIBUS RESPONSE IN SUPPORT OF CONFIRMATION OF DEBTORS’ AND

14              SHAREHOLDERS’ PROPONENTS’ JOINT CHAPTER 11 PLAN OF REORGANIZATION. (6

15              pages).

16         8.   Doc# 7507, DECLARATION OF CHRISTINA PULLO OF PRIME CLERK LLC REGARDING

17              SOLICITATION OF VOTES AND TABULATION OF BALLOTS CAST WITH RESPECT TO THE

18              DEBTORS’ AND SHAREHOLDER PROPONENTS’ JOINT CHAPTER 11 PLAN OF

19              REORGANIZATION. (122 pages).

20         9.   Doc # 7512, DECLARATION OF KENNETH S. ZIMAN IN SUPPORT OF CONFIRMATION OF

21              DEBTORS’ AND SHAREHOLDER PROPONENTS’ JOINT CHAPTER 11 PLAN OF

22              REORGANIZATION. (7 pages).

23         10. DECLARATION OF JOHN BOKEN IN SUPPORT OF DEBTORS’ AND SHAREHOLDERS

24              PROPONETS’ JOINT CHAPTER 11 PLAN OF REORGANIZATION. (8 pages).

25         11. DECLARTION OF JASON P. WELLS IN SUPPORT OF CONFIRMATION OF DEBTORS’ AND

26              SHAREHOLDERS PROPONTS’ JOINT CHAPTER 11 PLAN OF REORGANIZTIONS. (pages?

27              Cant decipher there are so many. 900?)

28
     PLEADING TITLE - 2



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                                                       3
1          12. I do not know if this is the current contract/ aka: The Plan and all other documents. Yet I reserve the

2              right to speak upon and about the integrity of notice and opportunity to be heard, 5th Amendment of the

3              Constitution of the united States of America.

4          13. I do not know if this is a final plan that is to be decided on June 5, 2020, or the final plan is yet to come

5              anytime after final confirmation of the plan.

6          14. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and correct

7              to the best of my knowledge, information, and belief

8

9                   Dated: June 4, 2020

10                  Magalia, California, [94954]

11

12                  All Rights Reserved.
13                                                             s/s: By: Mary Wallace
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     PLEADING TITLE - 3



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                                                         3
